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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                         )
                                                  )                  8:13CR138
                       Plaintiff,                 )
                                                  )
       vs.                                        )                FINDINGS AND
                                                  )              RECOMMENDATION
                                                  )
DANNY JUNIOR BRAVO,                               )
                                                  )
                       Defendant.                 )

        This matter is before the court on the motion of defendant Danny Junior Bravo (Bravo) to
suppress (Filing No. 57) and the referral for a supplemental hearing by Chief Judge Laurie Smith
Camp (Filing No. 78).
        A supplemental hearing was held on December 12, 2013. Bravo was present with his
counsel, Federal Public Defender David R. Stickman. The United States was represented by
Assistant United States Attorney Kimberly C. Bunjer. The court heard the testimony of Investigator
Brandi Brunz (Investigator Brunz) from the Scottsbluff Police Department (SPD) and received into
evidence Exhibit 1, a copy of an affidavit for a search warrant, a search warrant, and a return of
a search warrant. Investigator Brunz testified she swore to the affidavit for the search warrant and
obtained the search warrant from the Scotts Bluff County Judge as set forth in Exhibit 1. Further
she testified Exhibit 1 was signed by herself and the county judge and was a true copy of the
original. Exhibit 1 contained all the appropriate signatures. There was no objection to the receipt
of Exhibit 1.
        The undersigned magistrate judge finds the search warrant was properly executed and the
affidavit supporting such warrant contains sufficient probable cause for the issuance of the search
warrant.

      IT IS RECOMMENDED TO CHIEF JUDGE LAURIE SMITH CAMP that Bravo’s motion to
suppress (Filing No. 57) be denied.

                                              ADMONITION
        Pursuant to NECrimR 59.2 any objection to this Findings and Recommendation shall be
filed with the Clerk of the Court within fourteen (14) days after being served with a copy of this
Findings and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the objection.

       DATED this 13th day of December, 2013.
                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
